Case 1:05-cv-01032-.]DT-STA Document 45 Filed 07/12/05 Page 1 of 3 Page|D 24

36881»J|V|CGH

lN THE UN|TED STATES DlSTR|CT COURT F { |__ E o By
FOR THE WESTERN DlSTRlCT OF TENNESSEE
EASTERN DlV|S|ON

JUL 1 2 2005

Thomas M. Gould, Cierk
U. S. District Goun
W- D. OF TN, Jackaon

WOOD M. DEM|NG, M.D., REG|ONAL
CARD|OLOGY CONSULTANTS, P.C.,

P|aintiffs,

VS. NO. 1-05-1032-T
JACKSON-MAD|SON COUNTY GENERAL
HOSP|TAL D|STR|CT; WEST TENNESSEE
HEALTHCARE, lNC.; DEAN CURR|E, M.D.;
JAMES ELLIS, M.D.; JOHN MATTHEWS,
M.D.; SHAWN lSAEFF, M.D.; JOHN BAKER,
M.D.; CHARLES HERTZ, M.D.; R. PAUL
CAUD|LL, JR., M.D.; JAMES MOSS;
CURRIE SANDERS; AMERICAN MEDICO-
LEGAL FOUNDAT|ON, lNC.;
CHR|STOPHER CATES, M.D.; JOSEPH
GARAS|C, M.D.; AND KHUSROW A. K.
N|AZ|, M.D.,

Vvvvvvvvvvvvvvwvwvvvv

Defendants.

 

ORDER GRANT|NG DEFENDANTS’ MOT|ON TO FILE PLEAD|NGS AND
DOCUMENTS UNDER SEAL

 

This cause came to be heard upon the Motion of Defendants to file the
N|emorandum of Law in support of their Motion to Dismiss and/or for Surnmary
Judgment, the exhibits in support of that |V|otion, Defendants’ Staternent of Undisputed
|V|ateriei Facts, and the Affidavits of Dean Currie, M.D. and Char|es Hertz, M.D. under
seal, and the entire record in this cause, from all of Which the Court finds that the motion

is well-taken and should be granted

This document entered on the docks

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=i-'~‘ih note 53 and,.'or_?s (a) FHCP on p lance

Case 1:05-cv-01032-.]DT-STA Document 45 Filed 07/12/05 Page 2 of 3 Page|D 25

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|T |S, THEREFORE, ORDERED, Ai_'.j).jJUDGED ANDDE£.`,REED that Defendents
be permitted to file the Memorandum of LaW in Support of their Motion to Dismiss
and/or for Summary Judgment, the exhibits in support of that |Viotion, Defendants’
Statement of Undisputed |Viateriai Facts, and the AfHdavits of Dean Currie, M.D. and

Char|es Hertz, M.D. under sea|.

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Date y /

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
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EssEE

 

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Honorable J ames Todd
US DISTRICT COURT

